Case 1:99-cV-01289-.]DB-tmp Document 86 Filed 05/06/05 Page 1 of 3 Page|D 83

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IN THE UNITED STATES DISTRICT COURT \ @,-""
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FOR THE WESTERN DISTRICT OF TENNESSEE lay ...5 “
EASTERN DIVISION 57er P# 3_. 49
“ 1/ “ L'.#',"
WD. S.fxé»fs /7?0£/0
JOHNSON GREYBUFFALO, " f'A£.Jt€C;\T/`§[ or
Plaintiff,
V. No. 99-1289-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

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IT IS SO ORDERED this (- day of May, 2005.

 

. DANIEL BREEN
U D STATES DISTRICT JUDGE

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F TENNESSEE

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Honorable J. Breen
US DISTRICT COURT

